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                               UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                                                         www.flsb.uscourts.gov
                                           CHAPTER 13 PLAN (Individual Adjustment of Debts)
                                             Amended Plan (Indicate 1st, 2nd, etc. amended, if applicable)
                                         3rd Modified Plan (Indicate 1st, 2nd, etc. amended, if applicable)

 DEBTOR:              Roberto Baster                                       JOINT DEBTOR:                                         CASE NO.:       16-11911
 Last Four Digits of SS#                   xxx-xx-8351                    Last Four Digits of SS#

MONTHLY PLAN PAYMENT: Including trustee's fee of 10% and beginning 30 days from filing/conversion date, Debtor(s) to pay
to the trustee for the period of 20 months. In the event the trustee does not collect the full 10%, any portion not collected will be paid
to the creditors pro-rata under the plan:
           A.       $          1,322.42   for months           01     to       14       ;
           B.       $             350.61 for months            15     to        20      ; in order to pay the following creditors
 Administrative: Attorney's Fee - $ 6,600.00                             TOTAL PAID $ 3,500.00
                     Balance Due        $ 3,100.00                     payable $       86.19      /month (Months        01 to      14 )
                     Balance Due        $                              payable $       315.55 /month (Months            15 to      20 )
                                                       Chapter 13 $3,500.00;MMM $2,100.00; (2) MTM $500.00

Secured Creditors: [Retain Liens pursuant to 11 USC § 1325 (a)(5)] Mortgage(s)/Liens on Real or Personal Property:
 1. U.S. Bank                                                        Arrearage on Petition Date $ 0.00
                  c/o Ronald R Wolfe
                  & Associates, P.L.;
                  PO Box 25018;
                  Tampa, FL
      Address:    33622-5018                                            Arrears Payment $                    0.00 /month (Months 0 to 0 )
                  Account No: xxxx
      Account No: xx: xx-xx1359                                       Mortgage Payment $                1,185.78 /month (Months 01 to 14 )
IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL SECURING YOUR CLAIM IN THE
AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED ON YOU PURSUANT TO BR 7004 AND LR 3015-3.

                                                            Description of Collateral
             Secured Creditor                                and Value of Collateral    Interest Rate          Plan Payments Months of Payment    Total Plan Payments

 -NONE-                                          $                                           %          $                           To
Priority Creditors: [as defined in 11 U.S.C. §507]
     -NONE-                       Total Due $
                                  Payable     $                                            /month           (Months to )        Regular Payment $

Unsecured Creditors: Pay $ 0.00 /month (Months 0 to 0).


Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

Other Provisions Not Included Above:

The debtor received a modification of his loan with NationStar/ Us Bank(“Lender”), loan number xxxx1356, for real property located
at 333 E 63rd St Hialeah, FL 33013. The lender is being paid directly outside the plan commencing April, 2017

The debtor(s) will modify the plan to increase the amounts to be paid to provide for a 100% payment of all allowed unsecured claims.




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I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

 /s/ Roberto Baster
 Roberto Baster
 Debtor
 Date: May 10, 2017




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